338 F.2d 997
    Ollie E. ESTES, Appellant,UNITED STATES of America,No. 183, Docket 28931. failure to file income tax returns.26 appellant's somewhat fantastic testimonyv.Anthony J. CELEBREZZE, Secretary of Health, Education andWelfare, Appellee.
    No. 21376.
    United States Court of Appeals Fifth Circuit.
    Nov. 30, 1964.
    
      James L. Shores, Jr., Birmingham, Ala., for appellant.
      John R. Thomas, Jr., Asst. U.S. Atty., Macon L. Weaver, U.S. Atty., Birmingham, Ala., for appellee.
      Before JONES and BELL, Circuit Judges, and HUNTER, District Judge.
      PER CURIAM.
    
    
      1
      This is an appeal from a decision of the District Court affirming a determination by the Secretary of Health, Education and Welfare that appellant is not entitled to disability benefits under the Social Security Act.  42 U.S.C.A. 405(g), 416(i), and 423.  To establish disability under the act, the claimant must demonstrate an 'inability to engage in any substantial gainful activity.'  The Hearing Examiner found that appellant's physical impairments did not prevent him from performing non-strenuous work not requiring education for skill and concluded that disability within the Act was not established.  The Appeals Council denied review.
    
    
      2
      After a careful review of the record, we are convinced that the Hearing Examiner applied correct legal standards and that his findings are supported by substantial evidence.  Consequently, the judgment appealed from must be and it is affirmed.
    
    